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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 RowVaughn Wells,

                        Plaintiff,                   Case No. 2:23-CV-02224

        v.                                           JURY DEMAND

 The City of Memphis et al.,

                        Defendants.


                       STIPULATION OF MEDIATOR SELECTION

       Pursuant to the Court’s February 22, 2025 Order Relating to Mediator Selection (ECF 320),

the parties, by and through their undersigned counsel, apprise the Court that they have agreed to

request Magistrate Judge Jon York (W.D. Tenn., Eastern Division) as the mediator for this case,

provided that Judge York is agreeable to this course of action. The parties respectfully request the

Court’s guidance as to whether the parties should proceed with contacting Judge York’s chambers

directly to coordinate the mediation or whether the Court would prefer to formally refer the case

to Judge York for judicially conducted ADR pursuant to the Court’s Alternative Dispute Resolution

Plan Rule 5.4(d).

Dated: February 25, 2025

                                                     Respectfully submitted,

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                            CERTIFICATE OF CONSULTATION

       I, Bruce McMullen, hereby certify that the parties consulted via email regarding the
foregoing stipulation on February 25 and 26, 2025 via email. As of the time of this filing, counsel
for Defendants Desmond Mills, Jr., Justin Smith, Robert Long, Tadarrius Bean, and
Demetrius Haley did not respond or otherwise provide a position on the issue.

                                                    /s/ Bruce McMullen
                                                    Bruce McMullen




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